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                   EXHIBIT 4
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  From:           Sudhakar Vidiyala
  To:             Vasu Sabbella; Venkat Jayaraman; Meghana Vidiyala
  Subject:        FW: Ascent Pharmaceuticals, Inc.
  Date:           Wednesday, September 27, 2023 1:36:37 PM
  Attachments:    2023-01-18 -- Ascent -- Cover Letter to Production.pdf




  Thank You,
  Sudhakar Vidiyala

  From: Vasu Sabbella [mailto:vasu@ascentpharm.com]
  Sent: Wednesday, January 18, 2023 9:07 PM
  To: Sudhakar Vidiyala <sudhakar@ascentpharm.com>
  Subject: FW: Ascent Pharmaceuticals, Inc.


  fyi

  From: William Newman [mailto:will@federal-lawyer.com]
  Sent: Wednesday, January 18, 2023 9:01 PM
  To: Nick Oberheiden <nick@federal-lawyer.com>; Vasu Sabbella <vasu@ascentpharm.com>; mary
  rochee <maryrochee@gmail.com>; Roger Bach <roger@federal-lawyer.com>
  Subject: Fwd: Ascent Pharmaceuticals, Inc.

  Hi Team:

  I forward to you the letter and email I sent to the DEA today.

  Regards,

  Will Newman

  ---------- Forwarded message ---------
  From: William Newman <will@federal-lawyer.com>
  Date: Wed, Jan 18, 2023 at 5:25 PM
  Subject: Re: Ascent Pharmaceuticals, Inc.
  To: Locher, David M <David.M.Locher@dea.gov>
  Cc: Siclari, Edward O <Edward.O.Siclari@dea.gov>, Nick Oberheiden <nick@federal-
  lawyer.com>


  Dear David:

  I write in response to the DEA's request for additional information from Ascent
  Pharmaceuticals, Inc. I attach a letter to you, and you may download the Annexures
  referenced in the letter
  here: https://www.dropbox.com/sh/zrqwo6osnr0yic7/AADf7sCXQYVfv75daqeXbj8ka?dl=0
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  Please let me know if you have any questions or if I can be of further assistance.

  Respectfully submitted,

  Will Newman
          From: "Locher, David M" <David.M.Locher@dea.gov>
          Date: January 17, 2023 at 14:01:36 CST
          To: Nick Oberheiden <nick@federal-lawyer.com>
          Cc: "Siclari, Edward O" <Edward.O.Siclari@dea.gov>
          Subject: Ascent Pharmaceuticals, Inc.



          Dr. Oberheiden:


          As per our conversation, DEA has continued to work through the materials
          your firm provided from Ascent. As part of its ongoing review, DEA requires
          the following additional information.

          Attachment 2
          Please inform what Ascent’s normal loss range is for oxycodone 15mg and
          oxycodone 30mg between the milling stage and final blend stage.


          Attachment 5
          Based upon its review of these materials, DEA is unable to account for 32 of
          5/325mg hydrocodone/APAP 500-count bottles that appear to have been
          retained by Ascent as samples.

                 Please provide any records to account for destruction or other disposition
                 of these 32 bottles retained as samples.
                 DEA notes that in your letter dated Nov. 21, 2022, you indicated that
                 Ascent retained only 18 of 5/325mg hydrocodone/APAP 500-count
                 bottles. Please explain this discrepancy.


          Attachment 6

          Ascent has provided two competing versions of its biennial inventory in August
          2022 and November 2022.

                 Lot #17110945: This lot was included in the biennial inventory Ascent
                 provided to DEA in August, but was not included in the biennial
                 inventory provided in November. Please provide an explanation for this
                 discrepancy.
                 Lot #17090697: In the August biennial, the quantity and total quantity
                 listed for this lot were both 340; in the November biennial the number of
                 tablets listed is 3x100 and 1x60, but despite this totaling 360 tablets, the
                 total net weight/quantity is still listed as 340. Please (1) provide an
                 explanation for the discrepancy between the two versions, and (2) inform
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              whether the correct number of tablets is 360 or 340.



        Additionally, in both the August and November versions of the biennial, Lot
        #17100740 is listed as having a quantity of 4x100 tablets, but a total quantity of
        370 tablets. Please advise whether the correct number of tablets is 400 or 370.



        Attachment 7
        Ascent has provided two competing versions of its biennial inventory in August
        2022 and November 2022.

              Lot #19110808: In August the quantity of tablets listed is 2x500, but the
              total quantity is only 500; in November the quantity of tablets listed is
              1x500 and the total quantity of tablets is also listed as 500. Please (1)
              provide an explanation for the discrepancy between the two versions, and
              (2) inform whether the correct number of tablets is 1,000 or 500.


        Attachment 8

        Ascent has provided two competing versions of its biennial inventory in August
        2022 and November 2022.

              Lot #17090591: This lot was included in the biennial inventory Ascent
              provided to DEA in August, but was not included in the biennial
              inventory provided in November. Please provide an explanation for this
              discrepancy.
              Lot #20050313: In the August biennial, the quantity and total quantity
              listed for this lot were both 374 tablets; in the November biennial, the
              number of tablets is listed as 1x100 and 1x374, but the total quantity is
              listed as 374 tablets. Please (1) provide an explanation for the
              discrepancy between the two versions, and (2) inform whether the correct
              number of tablets is 374 or 474.



        Additionally, in both the August and November versions of the biennial, Lot
        #18010031 is listed as have having a quantity of 2x100 tablets, but a total
        quantity of 160 tablets. Please advise whether the correct number of tablets is
        200 or 160.


        DEA Form 222, No. 200324373
        We also require secondary shipping records, including bills of lading, relating
        to DEA Form 222 Order Form No., 200324373 for April 5, 2022, April 18,
        2022, April 20, 2022, April 25, 2022, and April 26, 2022.
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              Best,
              David M. Locher
              Attorney | Diversion Section
              Office of Chief Counsel | Drug Enforcement Administration
              Office: 571.362.7906 | Mobile: 202.322.4135

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